

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-68,575-01






CURMIT THOMAS HATCHER, Relator


v.


GALVESTON COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 03CR3867-83 IN THE 56TH JUDICIAL DISTRICT COURT

FROM GALVESTON COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the Judicial
District Court of Galveston County, that more than 35 days have elapsed, and that the application has not
yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Galveston County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the applications filed by Relator is such that the claims are not cognizable
under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed  applications for habeas
corpus in Galveston County.  This application for leave to file a writ of mandamus shall be held in abeyance
until the respondent has submitted the appropriate response.  Such response shall be submitted within 30
days of the date of this order.



Filed:  October 17, 2007

Do not publish	


